                                                                              CLERK'S OFFICE U.S. DIST. COURT
                                                                                     AT ROANOKE, VA
                                                                                          FILED

                                                                                     MAY 0 2 2019
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WE. STERN DISTRICT OF VIRGINIA BY;J_ULJA~~c.
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                              DANVILLE DIVISION .              ·

  UNITED STATES OF AMERICA                     )
                                               )        Case No.: 4:18-cr-00012
  v.                                           )
                                               )
                                               )
  DASHAWN ROMEERANTHONY, )
  etal.,                 )
                         )                              By:   Michael F. Urbanski
         Defendants.     )                              Chief United States District Judge

                                              ORDER

         This matter comes before the court on a number of motions regarding issues and

  disagreements over the composition and empaneling of the jury that will decide this case.

  These issues are: (1) the United States' motion for an anonymous jury, ECF No. 283; (2)

  whether the venire ought to be drawn from the Roanoke Division or the Danville Division,

  ECF Nos. 279 & 288; and (3) how voir dire ought to be conducted, ECF Nos. 280, 281 &

  285. While the main motions have been cited, responses in support and opposition and

  motions joining or giving notice of a lack of opposition have been filed by multiple parties,

  all requesting this court decide each issue in a variety of ways; argument was heard on -4\.pril

  19, 2019. ECF No. 319. The court will address and rule on each matter in turn.

                                                   I.

         The United States moved for an anonymous jury in this case on the grounds that the

  defendants are alleged to have conspired together in organized crime, were allegedly

  members of a group with the capacity to hurt the jurors, have attempted to interfere with the

  judicial process, and face considerable penalties, giving them "significant incentive to engage




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   in conduct that would affect the trial." ECF No. 283, at 10. This motion has been opposed

   by several of the defendants, see, e.g., ECF No. 295 Oavontay Jacquis Holland); ECF No.

   298 Oermay Antonio Smith, Jr.); ECF No. 304 Galen Cormarrius Terry); ECF No. 317

   (Montez Lamar Allen). Those who oppose the motion argue that an anonymous jury "may

  interfere with defendants' ability to conduct voir dire and to exercise meaningful peremptory

   challenges, thereby implicating ,defendants' Sixth Amendment right to an impartial jury."

   ECF No. 298, at 2-3 (citing United States v. Shryock, 342 F.3d 948, 373 (9th Cir. 2003).

  They also maintain that an anonymous jury "sends a message from the Court that the

   accused is so dangerous and so guilty that nobody is safe." ECF No. 296, at 6.

          Though ultimately this decision is within the court's discretion, an anonymous jury is

   not to be empaneled lightly. As defendants point out, an anonymous jury threatens two

   substantial constitutional rights: the right to trial by an impartial jury (the selection of which

   requires an informed voir dire) and the right to a presumption of innocence (made the more

   difficult for jurors to respect by the inferences they may unavoidably draw from their own

   anonymity). A district court may empanel an anonymous jury in any non-capital case in

   which "the interests of justice so require." United States v. Dinkins, 691 F.3d 358, 372 (4th

   Cir. 2012) (quoting 28 U.S.C. § 1863(b)(7) and .citing United States v. Ochoa-Vasquez, 428

   F.3d 1015 (11th Cir. 2005)). In a capital case, however, the district court may empanel an

   anonymous jury only after determining "by a preponderance of the evidence that providing

   the list may jeopardize the life or safety of any person." Id. at 372 (citing 18 U.S.C. § 3432).

   This case was originally charged as a capital crime, but the United States is not seeking the

  ·death penalty. United States v. Hall, 506 Fed. App'x 245 (4th Cir. Jan 24, 2013), left open the


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  question of whether a case loses its capital nature for purposes of deciding anonymity of the

   jury when the government decides not to pursue the death penalty. The court therefore will

  consider this issue under the heightened standard of a capital case.

          An anonymous jury is only warranted in the rare circumstance when "(1) there is a

  strong reason to conclude that the jury needs protection from interference or harm, or that

  the integrity of the jury's function will be compromised absent anonymity; and (2) reasonable

  safeguards have been adopted to minimize the risk that the rights of the accused will be

  infringed." Dinkins, 691 F.3d at 372. United States v. Ross, 33 F.3d 1507, 1519 (11th Cir.

  1994), provided five factors, adopted by the Fourth Circuit in Dinkins, for consideration in

  determining whether to take such an extraordinary precaution: (1) a defendant's involvement

  in organized crime; (2) a defendant's participation in a group with capacity to harm jurors;

   (3) a defendant's past attempts to interfere with the judicial process; (4) the potential that, if

   convicted, a defendant will suffer a lengthy incarceration and substantial monetary penalties;

   and (5) whether a trial has been subject to extensive publicity that could enhance the

   possibility that jurors' names would become public and expose them to intimidation or

   harassment. Dinkins, 691 F.3d at 373 (citing Ross, 33 F.3d at 1520). These factors are

   neither exhaustive nor dispositive but provide the court with a guide when considering this

   matter in light of the totality of the circumstances. Id. To support the third of these factors,

   the government points to an incident that occurred in Danville after the arrests-.a named

   victim in the indictment "was lured to a location in the heart of the defendants' gang

   territory and shot to death in broad daylight." ECF No. 267, at 2. While the government has

   presented no evidence linking the murder to this case, it suggested that its timing was


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   suspicious. As such, the government expressed concern that this case was susceptible to

   improper efforts to influence the judicial process, requiring that jurors' identities be

   protected.

          Mindful of the government's concerns, the court finds an anonymous jury not to be

   warranted under the circumstances of this case. While defendants are indeed alleged to have

   been involved in organized crime, are facing potential lengthy incarceration and substantial

   monetary penalties, and are part of a case that has been subject to considerable publicity,

   these factors do not create circumstances extreme enough to provide "a strong reason to

   conclude that the jury needs protection from interference or harm, or that the integrity of

   the jury's function will be compromised if the jury does not remain anonymous." Dinkins,

   691 F.3d at 372. The court finds one significant factor lacking in these circumstances-

   verifiable attempts to intervene in the judicial system by any defendants. In almost every case

   in whlch a court decided an anonymous jury was warranted, the court had undisputed

   evidence of specific instances of meddling in the judicial process, usually by violence or

   threat. See, e.g., id. at 375 (upholding a district court's decision to empanel an anonymous

   jury after considering evidence of the defendants' past murder of an individual who was

   cooperating or continuing to cooperate with law enforcement) (" ... the record before the

   district court overwhelmingly supported a finding that the defendants previously had

   engaged in attempts to interfere with the judicial process. In fact, the district court based its

   decision to empanel an anonymous jury on this consideration alone."); Hall, 506 Fed. App'x

   at 249 ("We begin by addressing ... whether the record shows that Defendant .. .interfered

   with the judicial process in the past. At the time the district court ruled on the anonymous


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  jury issue, the record contained evidence supporting the conclusion that Defendant ... had

  previously attempted to interfere with the judicial process. The indictment contained

  evidence that Defendant ... killed [witness] for providing information to law enforcement

  officers.").

             Here, in contrast, there is nothing-other than timing-linking the shooting incident

  to this case. Substantial discovery has been produced, and there has been no report that

  witnesses have been threatened or harassed, or that there has been any other attempt to

  interfere with the prosecution of this case. Absent such evidence, the court will not limit

  defendants' constitutional rights and take the drastic step of empaneling an anonymous jury.t

  The go~ernment's motion for an anonymous jury is DENIED.

                                                                 II.

             The next issue to be addressed is the composition of this jury. The government has

  filed a motion to use a venire of potential jurors from the Roanoke Division, rather than the

  Danville Division. ECF No. 279. The government points out that a trial in Danville would

  be "greatly inconvenient" due to the size of the courtroom, lack of appropriate holding cells

  at the Danville federal courthouse, location of defense counsel offices, and witness safety. Id.

  at 2. No defendant believes that the case can be tried in Danville. Further, the government

  argues that, if the trial is held at the federal courthouse in Roanoke with a Danville Division

  venire, the jurors would be put through "undue hardship" by being forced to drive from

  distant counties to Roanoke for voir dire and then, for those empaneled, trial. Id. at 4.

  Defendant Javontay Jacquis Holland has moved to empanel a Danville Division venire,


  1 This   ruling is, of course, subject to chll;nge should evidence of interference with the judicial process come to light.

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   arguing the Danville community has "an inherent right to try its alleged offenders absent

   good cause otherwise. ECF No. 289, at 3. This motion has been joined by defendant Montez

   Lamar Allen. ECF No. 290.

           The events that gave rise to this litigation occurred in Danville and primary affected

   its citizens. Danville Division citizens should not lose their opportunity to participate in the

   jury whose verdict will determine the outcome of a case that affects their community. This

   case emanates from the Danville Division and belongs there. The only reason the parties and

   the court are forced to consider a jury venire drawn from the Roanoke Division is the

   inadequacy of the Danville courthouse for a case of this size. 2 This is a Danville Division

   case; the court will draw the jury from a Danville Division venire.

            The court is mindful of the myriad logistical issues attendant to the use of a Danville

   Division venire for a trial held in Roanoke. The government argues that "utilizing jurors

   from the Danville Division would cause undue hardship on the jurors" by forcing jurors to

   commit long hours to commute to court from distant Danville counties. ECF No. 279, at 4.

   To be sure, using a Danville Division venire will require all jurors to travel to Roanoke, but,

   given the geography of the district and the fact that Roanoke Division jurors are drawn from

   surrounding counties, it is not unusual to have jurors traveling to trial in Roanoke from parts

   distant as well. The court is committed to ameliorating these concerns to the extent possible

   by offering jurors travel options and shortening daily court hours. On balance, the court

   believes that the interest in having this matter heard by a venire drawn from the Danville



   2The court has considered using its Lynchburg Division courthouse for this case, but the space for defense counsel is too
   small for the present number of defendants, some of whom have two counsel. The court will revisit this issue after the
   related Davis case is tried.

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   Division outweighs the logistical issues associated with juror travel. As such, the

   government's motion for a venire comprised of potential jurors from the Roanoke Division

   is thus OVERRULED.

          The court does, however, agree with the government's point, made during argument,

   that a venire drawn from the Danville Division should be larger than usual. To that end, the

   court will order a venire of 300 potential jurors. Additionally, the court will empanel a

   greater number of alternate jurors (four to six).

                                                 III.

          The third and final issue regarding the jury is how to conduct voir dire. The

   government moved that the court not use a jury questionnaire, ECF No. 280; defendants

   Jermay Antonio Smith, Jr., ECF No. 281, andJavontay Jacquis Holland, ECF No. 285, have

   flled motions for use of a jury questionnaire. These motions are joined by defendant Montez

   Lamar Allen. ECF No. 290 Gaining ECF No. 281).

          The right to "a voir dire adequate to assure a defendant a jury, all of whose members

   are 'able impartially to follow the court's instructions and evaluate the evidence,"' is secured

   by the Sixth Amendment of the United States Constitution. United States v. Tipton, 90 F.3d

   861, 877 (4th Cir. 1996) (quoting Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981)). ·

   Trial courts "retain[] great latitude in deciding what questions should be asked on voir dire."

   Mu'min v. Virginia, 500 U.S. 415, 424 (1991). While no constitutional rule guarantees

   defendants individual, rather than collective, voir dire, Goins v. Angelone, 52 F. Supp. 2d

   638, 669 (E.D. Va. 1999), the Fourth Circuit has made it clear that individual questioning is

   permissible, and may even be preferable, depending on the circumstances. See United States


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  v. Bakker, 925 F.2d 728, 734 (4th Cir. 1991) (commenting that trial courts are permitted to

  question prospective jurors collectively rather than individually, particularly when initial

  questioning is provided for jurors whose responses are "less than satisfactory").

          Given that this matter lies largely within its discreti9n, the court has determined that a

  hybridized voir dire, with some collective and some individual questioning, should be

  conducted. The court has already decided to use a jury questionnaire and is accepting

  comment from the parties on the proposed questionnaire. See ECF No. 323. The answers

  provided to the questionnaire by the members of the venire will be available to the parties

  prior to the commencement of voir dire. Based upon the responses to the questionnaire,

  some potential jurors may be recused from the panel by motion or agreement of the parties.

  The court envisions that voir dire of the remaining panel members will occur over five days,

  with one fifth of the remaining panel members brought in each day. During oral voir dire,

   the court will first question the potential jurors collectively and then permit the parties to ask

  questions both to the collective group and to individuals as appropriate.

                                                  IV.

          For the reasons stated above, the government's motion regarding jury composition,

  ECF No. 279, motion to dispose of the use of a jury questionnaire, ECF No. 280, and

  _motion for an anonymous jury, ECF No. 283, are DENIED.

          Defendants Javontay Jacquis Holland's motion to empanel a Danville Division

  venire, ECF No. 288, is GRANTED.

          Defendants Jermay Antonio Smith, Jr.'s, ECF No. 281, andJavontay Jacquis

   Holland's, ECF No. 285, motions for use of a jury questionnaire are GRANTED.


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        It is SO ORDERED.

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